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 DISTRICT COURT, CITY AND COUNTY OF DENVER,
 STATE OF COLORADO                      CASE NUMBER: 2018CV32713
 1437 Bannock Street
 Denver, CO 80202

 Plaintiff: FARMLAND PARTNERS INC.
 v.

 Defendants: ROTA FORTUNAE (WHOSE TRUE NAME
 IS UNKNOWN), JOHN/JANE DOES 2–10 (WHOSE
 TRUE NAMES ARE UNKNOWN)
                                                                         ▲COURT USE ONLY▲
 Attorneys for the Defendant(s):
 John A. Chanin, #20749                                                 Case Number:
 Katherine A. Roush, # 39267                                            2018CV32713
 Melanie MacWilliams-Brooks, #45322
 FOSTER GRAHAM MILSTEIN & CALISHER, LLP                                 Division: 376
 360 South Garfield Street, Suite 600
 Denver, Colorado 80209
 Phone: (303) 333-9810
 Fax: (303) 333-9786
 Email: jchanin@fostergraham.com, kroush@fostergraham.com
 mbrooks@fostergraham.com,



    MOTION TO RECONSIDER ORDER GRANTING SUBSTITUTED SERVICE OF
             FICTITIOUS DEFENDANTS JOHN/JANE DOES 2-10


         Defendant “Rota Fortunae” moves to reconsider the Court’s August 29, 2018 Order

granting substituted service on Defendants “John/Jane Does 2-10,” (the “Order”) as follows:

         1.       On August 28, 2018, the Court granted Plaintiff’s motion for substituted service on

the fictitious Defendants “John/Jane Does 2-10” by serving John Chanin. At that time, the Court

did not have the benefit of a response to the motion and the information set forth herein.

         2.       Under C.R.C.P. 4(f), substituted service is appropriate only if (1) Farmland Partners

made diligent efforts to serve John/Jane Does 2-10; (2) further attempts at personal service of




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John/Jane Does 2-10 would be to no avail; and (3) that the person to whom delivery of the process

is directed is appropriate under the circumstances and reasonably calculated to give actual notice

to the party upon whom service is to be effective. See Allen v. the Pinery, LLC, No. 17-CV-00688-

MSK-STV, 2017 WL 3492872, *1 (D. Colo. Aug, 15, 2017). Here, because “John/Jane Does 2-

10” are purely fictitious, Plaintiff cannot establish that substituted service is appropriate.

         3.       John Chanin is counsel of record for the anonymous author (known as “Rota

Fortunae” and referred to as such in this motion) of the publications that are the subject of

Plaintiff’s complaint. Upon being retained on or about August 20, 2018, on August 21, 2018, Mr.

Chanin spoke to Plaintiff’s counsel by phone to introduce himself.                During that phone

conversation, he explained that he had recently been retained and was investigating the complex

and novel issues presented in this case. He further declined to identify his client on the basis of

attorney-client privilege and Rota Fortunae’s First Amendment right to remain anonymous. See

Exhibit A (Affidavit of John Chanin) at ¶¶ 2-3.

         4.       The Plaintiff’s complaint identifies Defendants “John/Jane Does 2-10, whose true

names are unknown,” as “individuals or entities who worked with or for Rota Fortunae in

connection with the false and misleading statements about Farmland Partners that Rota Fortunae

made publicly in an internet posting and on Twitter, including members, partners, affiliates,

employees, consultants, clients, agents, and/or counsel of or for Rota Fortunae.” Compl. ¶ 3.

         5.       In fact, Rota Fortunae is an individual and the sole author of the complained-of

publication(s) that are the subject of Plaintiff’s Complaint. See Affidavit of John Chanin at ¶ 4.

         6.       Rota Fortunae is an anonymous whistleblower publishing his opinions about a

publicly traded company based on publicly available information. As such, he has a Constitutional


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right to remain anonymous when faced with a lawsuit such as this. See, e.g., McIntyre v. Ohio

Elections Comm., 514 U.S. 334, 342 (1995) (“[A]n author’s decision to remain anonymous . . . is

an aspect of the freedom of speech protected by the First Amendment.”); Doe v. Cahill, 884 A.2d

451, 456 (Del. 2005) (anonymous internet speech is entitled to First Amendment protections;

holding before a defamation plaintiff can obtain the identity of an anonymous defendant through

discovery, he must support his claims with facts sufficient to defeat summary judgment) Cf.,

Tattered Cover, Inc. v. City of Thornton, 44 P.3d 1044 (Colo. 2002).

         7.       There are no other persons or entities who “worked with or for Rota Fortunae in

connection with” the at-issue statements about Farmland Partners. See id. ¶ 5.

         8.       Thus, service on Mr. Chanin will not “apprise [John/Jane Does 2-10] of the

pendency of the action and afford them an opportunity to present their objections” as necessary

for valid substituted service, see Allen, 2017 WL 3492872, at *1, because such defendants do not

exist.

         9.       Mr. Chanin cannot accept service for defendants who do not exist, as he cannot

inform them of the action. Thus, such service is not valid, and the Court should reconsider its Order

granting substituted service for “John/Jane Does 2-10” on Mr. Chanin and issue a new Order

denying same.

         10.      C.R.C.P. 121 § 15-8 Certification: After receiving a copy of the Order at 9:02

p.m. on August 29, 2018 from counsel for Plaintiff, Mr. Chanin conferred with Plaintiff’s

counsel regarding this motion. He explained to Plaintiff’s counsel that his client is the

anonymous author of the at-issue publication, known as “Rota Fortunae,” and confirmed that his

client in an individual and that there are no other persons or entities who worked on, with, or for


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the author on the at-issue publication. Based on these representations, Mr. Chanin asked counsel

for Plaintiff to withdraw its motion, or Mr. Chanin would be forced to file this request for

reconsideration. That email is attached as Exhibit B. Plaintiff’s counsel declined to do so.

         WHEREFORE, Defendant Rota Fortunae requests the Court grant an Order withdrawing

its August 29, 2018 Order granted substituted service for defendants “John/Jane Does 2-10” on

Mr. Chanin and denying Plaintiff’s motion for substituted service.


         DATED this 30th day of August, 2018.

                                              FOSTER GRAHAM MILSTEIN & CALISHER, LLP


                                      By:     /s/    Katherine Roush
                                              John A. Chanin, #20749
                                              Katherine A. Roush, # 39267
                                              Melanie MacWilliams-Brooks, #45322
                                              Attorneys for Defendant Rota Fortunae




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of August, 2018, a true and correct copy of the
foregoing MOTION TO RECONSIDER ORDER GRANTING SUBSTITUTED SERVICE
OF FICTITIOUS DEFENDANTS JOHN/JANE DOES 2-10 was electronically filed and
served via Colorado Courts E-Filing upon the following:

Scott F. Llewellyn
Kyle S. Pietari
Morrison & Foerster LLP
4200 Republic Plaza
370 Seventeenth Street
Denver, Colorado 80202-5638
sllewellyn@mofo.com
kpietari@mofo.com


                                           /s/   Lucas Wiggins
                                           Lucas Wiggins




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 DISTRICT COURT, CITY AND COUNTY OF DENVER,
 STATE OF COLORADO                      CASE NUMBER: 2018CV32713
 1437 Bannock Street
 Denver, CO 80202

 Plaintiff: FARMLAND PARTNERS INC.
 v.

 Defendants: ROTA FORTUNAE (WHOSE TRUE NAME
 IS UNKNOWN), JOHN/JANE DOES 2–10 (WHOSE
 TRUE NAMES ARE UNKNOWN)
                                                                       ▲COURT USE ONLY▲

                                                                      Case Number:
                                                                      2018CV32713

                                                                      Division: 376

   AFFIDAVIT OF JOHN A. CHANIN IN SUPPORT OF MOTION TO RECONSIDER
   ORDER GRANTING SUBSTITUTED SERVICE ON FICTITIOUS DEFENDANTS
                          JOHN/JANE DOES 2-10



        1.     I am an attorney, licensed to practice law in the State of Colorado. I am employed
by the law firm Foster Graham Milstein & Calisher, LLP (“FGMC”).

         2.       I am counsel of record for Defendant “Rota Fortunae.”

        3.     I was retained by Rota Fortunae on or about August 20, 2018 and at that time
reached out to Plaintiff’s counsel by phone to introduce myself. I explained that I had recently
been retained and was investigating the many complex legal and factual questions raised by the
Complaint. I further explained that my client’s identity was protected by attorney-client privilege
and the First Amendment of the U.S. Constitution, and that I could not disclose my client’s identity
and must guard against any allegation of inadvertent waiver of that right to remain anonymous.

       4.       My client “Rota Fortunae” is an individual and the sole author of the at-issue article
and tweets that are the subject of the complaint.

       5.       There are no other persons or entities who worked on, with, or for “Rota Fortunae”
with regard to the at-issue statements and tweets.

        6.      I do not know who the “John/Jane Doe 2-10” Defendants are, as they do not exist.
If ordered to accept service on their behalf, I would not know where or to whom to provide notice.



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         I swear or affirm under penalty of perjury and the laws of the^State of Colorado that the


foregoing is true and correct.



                                                         ohn A. Chanin, Esq.
                                                         oster Graham Milstein & Calisher. LLP


STATE OF COLORADO                        )
                                         ) ss.
COUNTY OF DENVER                         )                       --7

Subscribed and sworn to before me by John A. Chanin, this _y^' day of August, 201 8.
Witness my hand and official seal.                                  ^7
My commission expires: ""?/ \o p.                                       z


                                                 Notary Public

          SABRINA M ROBINSON
                  Notary Public
                State of Colorado
            Notary ID # 20054008927
      Mv Commission Expires 07-10-2021




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Katie A. Roush

From:                 John Chanin
Sent:                 Thursday, August 30, 2018 9:27 AM
To:                   Llewellyn, Scott F.; Birnbaum, Michael D.            DATE FILED: August 30, 2018 4:48 PM
Cc:                   Pietari, Kyle Saari; Katie A. Roush                  FILING ID: E55BADBCBBE56
                                                                           CASE NUMBER: 2018CV32713
Subject:              FPI


Scott, 
 
I am writing in response to your letter of August 23.  For reasons that will become clear below, I do not believe that self‐
serving letters and unilateral deadlines are productive or ultimately persuasive.  Nor do I appreciate my words being 
taken out of context and selectively quoted.  I do not intend to argue about this, but I believe most judges would agree 
with me. 
 
As I explained to you on the telephone. I am just getting up to speed on this case, and the many complex and novel legal 
issues it presents.  In particular, my client’s First Amendment right to remain anonymous must remain paramount, and I 
must guard against any allegation of inadvertent waiver.  As an anonymous whistleblower publishing his opinions about 
a publicly traded company based on publicly available information, my client has a Constitutional right to remain 
anonymous when faced with a SLAPP lawsuit.  See, e.g., McIntyre v. Ohio Elections Comm., 514 U.S. 334 (1995), Doe v. 
Cahill, 884 A.2d 451 (Del. 2005).  Cf., Tattered Cover, Inc. v. City of Thornton, 44 P.3d 1044 (Colo. 2002).  The case cited in 
your letter is obviously inapplicable; in that case, it is the plaintiff who is seeking to remain anonymous after 
affirmatively seeking relief in court – the exact opposite of this case. 
 
Further, despite your urgent concern, we are months away from a case management conference.  As I explained to you 
on the telephone, I undoubtedly will be filing a motion to dismiss based on numerous grounds, including lack of personal 
jurisdiction, lack of sufficient service of process, failure to state a claim(s), and under the anti‐SLAPP protections of 
Protect Our Mountain Environment v. District Court, 677 P.2d 1361 (Colo. 1984).   
 
Regarding your premature and unnecessary motion for substituted service on the “John Doe” defendants, I can confirm 
that there are no other persons or entities who worked on, with, or for the author of the relevant article and 
tweets.  My sole client and the sole author of the complained of statements is an individual whistleblower who 
published his opinions based on his review and collection of publicly available information and records.  In making that 
representation, and in my prior conversation with you, I am mindful of my duty to protect client confidentiality and that 
the basis of my knowledge is attorney‐client privileged communications.  Perhaps I am old fashioned, but I believe an 
attorney should not prematurely reveal who, or even how many, clients he may have. 
 
I understand from an email at 9:02 pm last night that the Court granted your motion for substituted service on the John 
Doe defendants.  Because I do not know who those “defendants” may be, and I do not represent them whoever they 
are, I request that you withdraw your motion by Noon today.  If not, I will be forced to file a motion to reconsider the 
order and inform the Court that I cannot accept service for defendants who do not exist.  Please let me know. 
 
Best regards, 
 
John 
 
  John A. Chanin 
 Partner 
 Foster Graham Milstein & Calisher, LLP 
 360 South Garfield Street | Suite 600  

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                                                                                                               EXHIBIT B
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DENVER ‐ BOULDER               
 
                             
 
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attachments are believed to be free of any virus or other defect that might affect any computer system into which it is received, it is the responsibility of the recipient to ensure 
it is virus free and no responsibility is accepted by Foster Graham Milstein & Calisher, LLP for any loss or damage arising in any way from its use. 
 




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